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United States District Court
District of Massachusetts

 

United States of America,
Plaintiff,

Criminal Action No.
19-10080-NMG

Vv.
Sidoo et al,

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

The government has charged defendants with conspiring with
William “Rick” Singer (“Singer”) to have their children
fraudulently admitted to elite universities by, inter alia,
fabricating applications, falsifying academic and athletic
credentials, cheating on standardized tests, making payments to
corrupt exam proctors and bribing university employees and
athletic coaches.

Pending before this Court are two motions by defendant John
Wilson (“Wilson” or “defendant”): (1) Renewed Motion to Compel
the Production of Exculpatory Evidence (Docket No. 1227), and
(2) Motion for Reconsideration Regarding the Applicability of
the Court’s May 8, 2020 Order to Defendant John Wilson (Docket

No. 1184).
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I. Renewed Motion to Compel

Upon consideration of Wilson’s Motion to Compel, the
government's opposition thereto and Wilson’s Reply Brief (Docket
Nos. 1227, 1270 and 1310), the Court concludes that, while
Wilson is entitled to all exculpatory evidence in the
government’s possession, he is not entitled to know why the
government cancelled a meeting on September 23, 2018, or why it
chose not to record all calls and virtual meetings in which its
cooperating witnesses participated. Wilson will be permitted to
inquire at trial of government witnesses about events that
occurred in September, 2018, and to petition the Court that it
should instruct the jury about adverse inferences regarding
those events. Furthermore, the government will be directed to
confirm with the Court and Wilson that it has reviewed its
records and has produced all Brady material with respect to the
subject events.

II. Motion for Reconsideration

Wilson has also moved for reconsideration of this Court’s
May 8, 2020, Order denying the defendants’ motion to dismiss the
indictment based on government misconduct (Docket Nos. 1184 and
971). The government responds that Wilson has not met the
prerequisite standard for reconsideration.

Under Fed. R. Civ. P. 59{e), a party may “direct the

district court's attention to newly discovered material evidence
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or a manifest error of law or fact . . . enablfing] the court to
correct its own errors .. . ." Aybar v. Crispin-Reyes, 118 F.3d
10, 16 (1st Cir. 1997). A motion for reconsideration should be

granted only if the court has patently misunderstood a party or
there is a significant change in the law or facts since the
submission of the issues to the court by the parties. Reyes

Canada v. Rey Hernandez, 224 F.R.D. 46, 48 (D.P.R. 2004) (citing

 

Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185,

 

1191 (7th Cir. 1990)).

This Court finds that Wilson has not met this rigorous
standard. As suggested previously, cross-examination of Singer
or proffering testimony of Wilson family members may be fully
utilized at trial.

ORDER

In accordance with the foregoing, defendant Wilson’s
Renewed Motion to Compel the Production of Exculpatory Evidence
(Docket No. 1227) is ALLOWED to the extent that the government
is directed to confirm that it has reviewed its records and has
produced all Brady material with respect to the subject events
but is otherwise DENIED. Defendant Wilson’s Motion for
Reconsideration Regarding the Applicability of The Court’s May
8, 2020 Order to Defendant John Wilson (Docket No. 1184) is

DENIED.
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So ordered.

With ali Gra.

Nathaniel M. Gorton
United States District Judge
Dated July 2., 2020
